           Case 2:21-cv-03846-PD Document 17 Filed 09/01/21 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

H.T. et al.,                                     :
                      Plaintiffs,                :
                                                 :
            v.                                   :      Civ. No. 21-3846
                                                 :
CENTRAL BUCKS SCHOOL DISTRICT,                   :
              Defendant.                         :

                                           ORDER

       AND NOW, this 1st day of September, 2021, it is hereby ORDERED that, as Plaintiffs

have requested, Plaintiffs’ Motion Pursuant to Rule 65 for Temporary Restraining Order and

Preliminary Injunction (Doc. No. 2) is WITHDRAWN without prejudice.                  The hearing

scheduled for today, September 1 at 1:00 p.m. is CANCELLED. Should it appear (as Plaintiffs

had previously suggested) that the Central Bucks School District and others may defy, ignore,

challenge, or otherwise fail to comply with the Secretary of Health’s August 31st, 2021 Order

Directing Face Coverings in School Entities, Plaintiffs are free to renew their Motion, which will

be addressed very promptly.


                                                            AND IT IS SO ORDERED.


                                                            /s/ Paul S. Diamond
                                                            _________________________
                                                            Paul S. Diamond, J.
